                Case 3:20-cv-05946-BJR Document 7 Filed 01/11/21 Page 1 of 4



 1

 2

 3

 4

 5

 6

 7                             UNITED STATES DISTRICT COURT
 8                            WESTERN DISTRICT OF WASHINGTON
                                        AT SEATTLE
 9
     DENNIS KOORN, an individual,                       Case No. 3:20-cv-05946-BJR
10
                 Plaintiff,                             STIPULATED MOTION FOR ENTRY
11                                                      OF CONSENT JUDGMENT
           v.
12
     AVEVE N.V., BELGIUM, a public limited
13   company, and ARVESTA.COM, an internet
14   domain name, in rem,

15               Defendant.

16

17         On September 23, 2020, Plaintiff DENNIS KOORN (“Plaintiff”) filed a Complaint [Doc.
18   1] against AVEVE N.V., BELGIUM, a public limited company (“Defendant, Aveve, N.V), and
19   ARVESTA.COM, a domain name, in rem (the “Domain Name”) (collectively “Defendant”).
20   The Complaint seeks, among other relief:
21         1.    Declaration by the Court that, pursuant to 15 U.S.C. § 1114(2)(D)(iv)-(v), that
22   Plaintiff is entitled to registration, ownership and use of the Domain Name;
23         2.    Declaration by the Court that, pursuant to 28 U.S.C. § 2201, that Plaintiff’s
24   registration of the Domain Name is lawful and does not infringe on any trade or service mark
25   right the Defendant may claim in the United States;
26         3.    Damages according to proof at trial, but in an amount not less than $100,000-per
27   incidence of reverse domain name hijacking;
28         4.    Punitive damages according to proof at trial; and
                Case 3:20-cv-05946-BJR Document 7 Filed 01/11/21 Page 2 of 4



 1         5.    Costs and expenses, including costs under 15 U.S.C. § 1114(2)(D)(iv)-(v) and

 2   reasonable attorneys’ fees.

 3         Plaintiff and Defendant, Aveve, N.V. have agreed to the entry of this consent judgment to

 4   resolve the disputes between them ("Consent Judgment").

 5

 6         Dated this 29th day of December, 2020.

 7

 8    NEWMAN DU WORS LLP                               AVEVE N.V., BELGIUM, AND
                                                       ARVESTA.COM
 9

10    s/ Derek A. Newman                               s/
      Derek A. Newman, WSBA No. 26967                  By:
11    Jason B. Sykes, WSBA 44369                       Title:
12    2101 Fourth Avenue, Suite 1500
      Seattle, WA 98121
13    Phone: (206) 274-2800
      Email: dn@newmanlaw.com
14             jason@newmanlaw.com
15
      ESQWIRE.COM P.C.
16
      Jason Schaeffer, Esq. (pro hac vice
17    forthcoming)
      Stevan Lieberman, Esq. (of counsel) (pro
18    hac vice forthcoming)
      1908 Route 70 East
19
      Cherry Hill, NJ 08003
20    Phone: (856) 874-9651
      Email: jason@ESQwire.com
21           stevan@APLegal.com
22    Counsel for Plaintiff Dennis Koorn
23

24

25

26

27

28
                Case 3:20-cv-05946-BJR Document 7 Filed 01/11/21 Page 3 of 4



 1                                                JUDGMENT

 2         NOW THEREFORE, upon consent of the parties, IT IS HEREBY ORDERED,

 3   ADJUDGED, AND DECREED:

 4         1.      Plaintiff Dennis Koorn owns the Domain Name;

 5         2.      Defendant, Aveve, N.V. filed a complaint with the World Intellectual Property

 6   Organization seeking transfer of ARVESTA.COM under the Uniform Domain Name Dispute

 7   Resolution Policy of the Internet Corporation for Assigned Names and Numbers, Aveve N.V. v.

 8   Privacy Administrator, Anonymize, Inc. / Dennis Koorn, No. D2020-1115 (the "UDRP

 9   Proceeding").

10         3.      Plaintiff filed this lawsuit seeking a declaration of the parties’ rights, a finding of

11   Plaintiff’s lack of bad faith intent under the Anti-Cybersquatting Consumer Protection Act.

12         4.      Plaintiff’s interest in the Domain Name is legitimate.

13         5.      Plaintiff did not register or use the Domain Name in bad faith and had no bad faith

14   intent to profit from the Domain Name.

15         6.      Plaintiff’s registration and use of the Domain Name was and is lawful under the

16   Anti-Cybersquatting Consumer Protection Act, 15 U.S.C. §§ 1114, 1125(a) and 1125(d).

17         7.      Pursuant to 15 U.S.C. § 1114(2)(D)(v), the registrar for the Domain Name, Epik Inc.,

18   is hereby enjoined from transferring the Domain Name to Defendant and is ordered to release the

19   Domain Name from any form of locking or disabling based on Defendant's claims in the UDRP

20   Proceeding.

21         8.      Defendant has accepted service of the Summons and Complaint in this action and

22   waives any objections based on service of process as part of the negotiated settlement, and is

23   subject to the jurisdiction of the Court for this action.

24         9.      Defendant agrees to pay Plaintiff a Settlement Amount of Twenty-Five Thousand

25   Dollars ($25,000.00) (the “Settlement Amount”) in complete resolution of Plaintiff’s actual

26   and/or statutory damages, attorney's fees, and costs associated with this action and the UDRP

27   Proceeding, and to deliver payment to Plaintiff within ten (10) calendar days of entry of this

28   Consent Judgment.
                   Case 3:20-cv-05946-BJR Document 7 Filed 01/11/21 Page 4 of 4



 1           10.    Each party shall bear its own costs and attorney’s fees.

 2           11.    Upon payment of the Settlement Amount, the claims asserted in the Complaint are

 3   released and dismissed with prejudice, and Plaintiff shall not be entitled to any other relief of any

 4   nature whatsoever related to the claims asserted in the Complaint, including but not limited to

 5   compensatory, statutory, punitive damages or attorney's fees, other than as set forth herein.

 6           12.    Upon payment of the Settlement Amount Plaintiff shall transfer ownership of the

 7   Domain Name to Defendant, Aveve, N.V.

 8           13.    This Court shall retain jurisdiction over the parties for the purpose of enforcing the

 9   terms of this Consent Judgment.

10           14.    The parties agree that the prevailing party in any proceeding to enforce the terms of

11   this Consent Judgment shall be entitled to an award of its attorneys' fees and costs.

12           15.    This Consent Judgment represents a final adjudication of all claims, counterclaims,

13   and defenses that were, or could have been, brought between Plaintiff and Defendant in this case.

14   This Consent Judgment is intended to be final and shall bind Plaintiff and Defendant on all issues

15   that were or could have been litigated in this proceeding and that no appeal shall be taken here

16   from.

17           The undersigned hereby stipulate to the above facts and conclusions and consent to this

18   Consent Judgment, which may be signed in counterparts. Signatures can be obtained and

19   exchanged by scanned copy and/or facsimile.

20           IT IS SO STIPULATED AND ORDERED.

21           Dated: January 11, 2021.

22

23                                                             A    Barbara Jacobs Rothstein
                                                              U.S. District Court Judge
24

25

26

27

28
